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"

          ~AO 245B (CASD) (Rev. 4114)   Judgment in a Criminal Case
                    Sheet 1




                         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                             v.                                         (For Offenses Committed On or After November I, 1987)

                           CHRISTOPHER BUCKELY [5]                                      Case Number: 13cr3481-BTM
                                                                                        RICARDO GONZALEZ
                                                                                        Defendant's Attorney
         REGISTRATION NO. 667080112

         o
         THE DEFENDANT:
         181pleaded guilty to count(s) _I_O_F_T_H_E_IN_D_IC_T_M_EN_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         o     was fouud guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               after a plea of not guilty.
               Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
         Title & Section                          Nature of Offense                                                                             Number(s)
    18USC1349; 18USC982(a)(2)             Conspiracy to Commit Bank Fraud; Criminal Forfeiture




            The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
     o
     to the Sentencing Reform Act of 1984.
          The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     O c o u n t ( s ) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0                                    are   0 dismissed on the motion of the United States.
     181 Assessment: $100 to be paid within 4 months.

     181 Fine waived                                    o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ ' included herein.
           IT [S ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                   JUNE 6, 2014
                                                                                  Date oflmposition of Sentence



                                                                                  HON:BYTEDM~
                                                                                  UNITED STATES DISTRICT JUDGE



                                                                                                                                                    I 3cr348I-BTM
 .,     Case 3:13-cr-03481-BTM                   Document 335              Filed 06/19/14   PageID.1371               Page 2 of 5
AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment -   Page   __2:...._ of    5
 DEFENDANT: CHRISTOPHER BUCKELY [5]
 CASE NUMBER: 13cr3481-BTM
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
          TIME SERVED (8 DAYS).



      D Sentence imposed pursuant to Title 8 USC Section l326(b).
      D The court makes the following recommendations to the Bureau of Prisons:
                                                                                              ~r,e!~
                                                                                              UNITED STATES DISTRICT JUDGE




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at                                   Da.m.      Dp·m.         on
               as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before
          D
                        --------------------------------------------------------------
               as notified by the United States MarshaL
          D    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:

         Defendant delivered on                                                    to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment


                                                                                            UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~~~-------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                           13cr3481-BTM
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AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        5
DEFENDANT: CHRISTOPHER BUCKELY [5]                                                                     o
CASE NUMBER: 13cr3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS,

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed Oil or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controHed
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the' court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplicable.)
       The defendant shall not possess a firearm. ammunition, destructive device. or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 ..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with !fie requirements ofthe Sex Offender Registration and Notification Act (42 U,S,C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student. or
       was convicted of a qualifYing offense. (Check if applicable,)
D The defendant shalt participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shalt support his or her dependents and meet other famity responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shalt notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shalt not purchase. possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any-persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by thedefendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13cr3481-BTM
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        '.
        AO 24~iB (CASD) (Rev. 4114) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment   Page    4    of      5
        DEFENDANT: CHRISTOPHER BUCKELY [5]                                                            II
        CASE NUMBER: 13cr3481-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
IVI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
Igj Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
Igj Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
Igj Make restitution to the Bank of America in the amount of$12,537.57, to be paid in installments of$ 200.00 per month, with the balance due
    60 days prior to termination of Supervised Release.




D
Igj Provide complete disclosure of personal and business financial records to the probation officer as requested.
Igj Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120 days within 60 days. This is a punitive
    placement.
Igj Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
Igj Be prohibited from opening banking accounts without approval of the Probation Officer.
Igj Notify the Collections Unit, United States Attorney's Office, of any interest in property valued over $1000 obtained, directly or indirectly,
    including any interest obtained under any other name, entity, including a trust, partnership or corporation, until restitution is paid in full.
    (PSR ppl8 4)

Igj Notify the Collections Unit, United States Attorney's'office, before transferring any interest in any property valued over $1000 owned
    directly or indirectly by him, inc,luding any interest held orowned under any othername or,entity, including trusts, partnerships, or
    corporations, until restitution iipaid',n full.'(I'SR pp18 5) .'        , ....       '.', . ' . .              .




                                                                                                                                        13cr3481-BTM
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AD 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment - Page _..:5~_ of     5
DEFENDANT: CHRISTOPHER BUCKELY [5]
CASE NUMBER: 13cr3481-BTM

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$::1::2:.::,5::3::7.::.5::7_ _ _ unto the United States of America.
          for the benefit of Bank of America.



          This sum shall be paid __ immediately.
                                  " as follows:
            At the rate of $200.00 per month with the balance due 60 days prior to termination of Supervised Release.




       The Court has determined that the defendant       does not   have the ability to pay interest. It is ordered that:

   "          The interest requirement is waived.

             The interest is modified as follows:




                                                                                                  13cr3481-BTM
